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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0521V
                                        UNPUBLISHED


    ALISON MORA,                                            Chief Special Master Corcoran

                        Petitioner,                         Filed: June 22, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


David John Carney, Green & Schafle LLC, Philadelphia, PA, for Petitioner.

Sarah Black Rifkin, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 11, 2021, Alison Mora filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”), resulting from an influenza (“flu”) vaccine administered to her
on November 13, 2019. Petition at 1. Petitioner further alleges that she suffered the
residual effects of her condition for more than six months. Petition at 4. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On June 21, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that “petitioner’s injury is consistent with SIRVA as

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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defined by the Vaccine Injury Table. Specifically, petitioner had no history of pain,
inflammation, or dysfunction of her left shoulder; pain occurred within 48 hours after
receipt of an intramuscular vaccination; pain was limited to the shoulder in which the
vaccine was administered; and no other condition or abnormality has been identified to
explain petitioner’s shoulder pain”. Id. at 5. Respondent further agrees that Petitioner
suffered the residual effects of her condition for more than six months and that all
prerequisites for compensation under the Act have been satisfied. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

     IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




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